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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
SUNDUS JABER
_______________________________,

                 Plaintiff,
                                                                      24-10790
v.                                                           Case No. __________________
                                                             HON. MARK A. GOLDSMITH
35th DISTRICT COURT et al.
_______________________________,

            Defendant(s).
_________________________________/

                         ORDER STRIKING DOCUMENT (Dkt. 16
                                                       ___)
                                                      Motion to Dismiss
       The Court has reviewed the following document: ________________________________

(Dkt. ____).
      16     The Court finds that it should be stricken for the following reason(s):

      Missing RULQVXIILFLHQWstatement of QRQconcurrence. See LR 7.1(a).

       Over-length. See LR 7.1(d)(3).

       Wrong font size. See LR 5.1(a)(3).

       Missing required information (e.g., concise statement of issues, controlling or most

       appropriate authority, etc.). See LR 7.1(d)(2).

       Improperly formatted (e.g., single-spaced, improper margins, missing page numbers,

       etc.). See LR 5.1(a)(2).

       Does not comply with the Case Management Order in this case for the following reasons:

       ________________________________________________________________________

       ________________________________________________________________________

       _______________________________________________________________________.
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            Defendant's motion does not contain the local rules certification in accordance
    ✔ Other:__________________________________________________________________

       with this Court's 4/2/24 order (Dkt. 3).
       ________________________________________________________________________

       _______________________________________________________________________.
                                             Defendants
Accordingly, the Court strikes the document. ______________________ shall file a FRUUHFWHG
                                                          6/27/24
document that complies with all requirements on or before ____________________.

       SO ORDERED.


                                                    s/Mark A. Goldsmith
Dated: 6/24/24
       Detroit, Michigan                            MARK A. GOLDSMITH
                                                    United States District Judge

                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court's ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on ______________________.
                                                                     June 24, 2024
                                                    Misty Neely
                                                    Misty Neely
                                                    Case Manager
